Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 1 of 7 PageID #:1149




                   EXHIBIT 1
Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 2 of 7 PageID #:1150
Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 3 of 7 PageID #:1151
Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 4 of 7 PageID #:1152
Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 5 of 7 PageID #:1153
Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 6 of 7 PageID #:1154
Case: 1:23-cv-16262 Document #: 82-4 Filed: 05/23/24 Page 7 of 7 PageID #:1155
